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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

Case No. 20-2520-MJ-O'SULLIVAN (SEALED)

UNITED STATES OF AMERICA,

Plaintiff,
V.
MAKSIM BOIKO,
Defendant(s).
/

ORDER
THIS CAUSE came before the Court and pursuant to proceedings it is
thereupon, PURSUANT TO THE ARREST OF THE ABOVE NAMED
DEFENDANT, THIS CASE IS HEREBY UNSEALED.

DONE AND ORDERED at Miami, Florida.

[fue

John J. O'Sullivan»
UNITED STATES MAGISTRATE JUDGE

Dated: 3/30/20

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